Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 1 of 44 PageID#RECEIVED
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Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 2 of 44 PageID# 2
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 3 of 44 PageID# 3
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 4 of 44 PageID# 4
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 5 of 44 PageID# 5
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 6 of 44 PageID# 6
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 7 of 44 PageID# 7
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 8 of 44 PageID# 8
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 9 of 44 PageID# 9
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 10 of 44 PageID# 10
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 11 of 44 PageID# 11
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 12 of 44 PageID# 12
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 13 of 44 PageID# 13
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 14 of 44 PageID# 14
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 15 of 44 PageID# 15
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 16 of 44 PageID# 16
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 17 of 44 PageID# 17
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 18 of 44 PageID# 18
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 19 of 44 PageID# 19
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 20 of 44 PageID# 20
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 21 of 44 PageID# 21
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 22 of 44 PageID# 22
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 23 of 44 PageID# 23
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 24 of 44 PageID# 24
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 25 of 44 PageID# 25
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 26 of 44 PageID# 26
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 27 of 44 PageID# 27
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 28 of 44 PageID# 28
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 29 of 44 PageID# 29
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 30 of 44 PageID# 30
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 31 of 44 PageID# 31
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 32 of 44 PageID# 32
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 33 of 44 PageID# 33
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 34 of 44 PageID# 34
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 35 of 44 PageID# 35
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 36 of 44 PageID# 36
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 37 of 44 PageID# 37
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 38 of 44 PageID# 38
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 39 of 44 PageID# 39
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 40 of 44 PageID# 40
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 41 of 44 PageID# 41
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 42 of 44 PageID# 42
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 43 of 44 PageID# 43
Case 1:21-cv-01062-RDA-IDD Document 1 Filed 01/09/19 Page 44 of 44 PageID# 44
